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                                  IN THE UNITED STATES DISTRICT COURT

                                        FOR THE DISTRICT OF OREGON

                                             PORTLAND DIVISION

       UNITED STATES OF AMERICA,                                                   Case No. 3:20-cr-00228-SI

              v.
                                                            RECEIVER’S MOTION TO INTERVENE
       ROBERT J. JESENIK, N. SCOTT                          FOR LIMITED PURPOSES, MOTION TO
       GILLIS, ANDREW N. MACRITCHIE,                        EXPAND THE SCOPE OF THE
       BRIAN K. RICE,                                       PROTECTIVE ORDER, AND MOTION TO
                                                            CLAW BACK PRIVILEGED DOCUMENTS
                            Defendants.

                    I.     CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7-1

               In compliance with Local Rule 7-1, counsel for the Court-appointed Receiver and the

      Receivership Entity, in the matter captioned SEC v. Aequitas Management, LLC, et al., 3:16-

      CV-00438-JR, currently pending in the U.S. District Court for the District of Oregon

      (hereinafter, the “Receiver”), certify that, on October 6, 2020, they conferred in good faith by

      telephone conference with counsel for the parties to this action. Subsequently, counsel for the

      Receiver communicated with all counsel by email, advising of the Receiver’s intent to file this

      motion. At the request of counsel for Defendants, the Receiver refrained from filing the motion
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      to allow for further engagement on the issues. At the request of counsel for Defendants, the

      Receiver responded to numerous questions regarding the Government’s inadvertent access to a

      portion of the consolidated database containing privileged communications. At the conclusion

      of that October 30, 2020 written communication, the Receiver asked the Defendants to articulate

      any argument as to how documents created and/or transmitted by email after his appointment

      could have any bearing on the subject criminal matter, particularly keeping in mind that any

      findings by the Receiver and his team relating to parties named in this criminal proceeding,

      together with references to all supporting facts and documents, are set forth in the Receiver’s

      forensic report. To date, the Defendants have not responded to that request. The assistance of the

      Court is necessary to resolve the issues presented in this motion.

                                                II.    MOTION

                  The Receiver respectfully moves to intervene in the above captioned matter, for the

      limited purposes set forth below.

                  The Receiver further moves to amend the Protective Order entered on or about September

      16, 2020 (“Protective Order”)1 to (1) expand the scope of protected information to include

      computer system passwords, server and network device logs, system configuration data,

      delimited data sets, project management documents and encryption keys (“Sensitive Aequitas

      IT Information”) and (2) increase the measures taken when unredacted discovery material is

      shown to potential witnesses. A redline version of the Protective Order containing the requested

      amendments is attached to the Declaration of Troy Greenfield submitted with this motion.




              1
                  Docket No. 50.
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                  Finally, the Receiver moves the Court for an order requiring the parties to this action to

      destroy or return all documents containing privileged communications, to which the Government

      was inadvertently granted access, regardless of whether those documents were later produced to

      any of the Defendants.

                  This motion is supported by the Declaration of Receiver Ronald F. Greenspan

      (“Receiver’s Decl.”), the Declaration of Troy Greenfield (“Greenfield Decl.”), as well as the

      following points and authorities.

                                        III.   POINTS AND AUTHORITIES

              A.        STATEMENT OF RELEVANT FACTS

              At the outset of the Aequitas Receivership, the Receiver and his team assembled a

     consolidated database for use by all civil and criminal litigants, with the goals of (1) providing

     access to documents in the care, custody or control of the various corporate entities comprising the

     Receivership Entity2 immediately prior to initiation of the Receivership and (2) limiting

     unnecessary administrative expense associated with responding to numerous discovery requests

     which would deplete the funds available to be distributed to defrauded Aequitas investors.

     (Receiver’s Decl. ¶ 2).

              Two discrete consolidated database files are at issue in this motion. The first (referred to

     herein as “File A”) is a file comprised of documents containing personal identifying information

     and personal health information (collectively referred to as “Private Information” in the Protective


              2
             Individually and collectively, Aequitas Management, LLC, Aequitas Holdings, LLC,
     Aequitas Commercial Finance, LLC, Aequitas Capital Management, Inc., Aequitas Investment
     Management, LLC and each of their 43 subsidiaries and/or majority-owned affiliates, as set forth
     on Exhibit A of the Order Appointing Receiver (Dkt. No. 156) entered in the matter captioned
     SEC v. Aequitas Management, LLC, et al., 3:16-CV-00438-JR.
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     Order), various forms of private financial information (collectively referred to as “Financial

     Information” in the Protective Order”), as well as computer system passwords, server and network

     device logs, system configuration data, delimited data sets, project management documents and

     encryption keys (collectively “Sensitive Aequitas IT Information”) identified by information

     technology employees of Aequitas who were retained following appointment of the Receiver. The

     Government3 was knowingly granted access to File A, with the assumptions that none of the

     documents would ever be considered relevant or even likely to lead to the discovery of relevant

     evidence in any civil or criminal proceeding and, accordingly, the Government would not disclose

     those documents to any other parties. (Receiver’s Decl. ¶ 3). In light of the fact the Government

     was knowingly granted access to File A, the Receiver does not seek to claw back any documents

     from File A that may have been downloaded by the Government and subsequently produced to the

     Defendants in this matter. The contents of File A are the subject of the Receiver’s request for

     limited amendments to the Protective Order.

              The second file at issue (referred to herein as “File B”) is comprised of documents created

     and/or transmitted between March 16, 2016 and March 6, 2017. Among other documents created

     and/or transmitted after appointment of the Receiver, File B contains email communication by and

     between the Receiver (as well as his appointed non-legal representatives) and the attorneys

     engaged by the Receiver and approved by the Court to serve the Receiver and the Receivership

     Entity. (Receiver’s Decl. ¶ 4). To the best of the Receiver’s knowledge, File B was inadvertently

     created within the consolidated database as a result of operation of a computer program or protocol


              3
                  As used herein, “Government” in intended to apply to the U.S. Attorney’s Office, IRS
     and FBI.

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     utilized by FTI Technology, the third-party vendor contracted by the Receiver in accordance with

     the provisions of the Order Appointing Receiver4 to create and manage the database (FTI Tech).

     Specifically, it captured email exchanged between March 16, 2016 and March 6, 2017 that

     included an aequitas.com email address. (Receiver’s Decl. ¶ 5). At no time did the Receiver

     intend to include documents created after his appointment in the consolidated database made

     available to litigants. (Receiver’s Decl. ¶ 6).

              When FTI Tech ultimately recognized that documents created after appointment of the

     Receiver were included in the database, a representative advised the Receiver and his team of the

     error. (Receiver’s Decl. ¶ 7). Neither the Receiver nor any member of the Receiver’s team

     understood this communication to mean that the Government had previously been granted access

     to documents created after appointment of the Receiver. Rather, the Receiver and his team

     believed the access restrictions they intended to have put in place at that time would govern all

     future access of third parties. (Receiver’s Decl. ¶ 8). FTI Tech created a database subset file –

     File B – and was instructed to deny access to all third parties. (Receiver’s Decl. ¶ 9). Imbedded

     in an email responding to the instructions to deny access to File B, a representative of FTI Tech

     inquired whether the direction to deny access to all third parties included representatives of the

     Government. (Receiver’s Decl. ¶ 10). None of the recipients of the email noticed or responded to

     the inquiry. (Receiver’s Decl. ¶ 11). Without inquiring further and unbeknownst to the Receiver

     and his team, FTI Tech granted the Government access to File B. (Receiver’s Decl. ¶ 12).

              After the indictment charging Messrs. Jesenik, MacRitchie, and Rice (as well as the



              4
            Dkt. No. 156, in the matter captioned SEC v. Aequitas Management, LLC, et al., 3:16-
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     previously indicted Mr. Gillis) was unsealed, the Government inquired regarding securing access

     to the consolidated database for the Defendants. Counsel for all four had previously been granted

     access. (Greenfield Decl. ¶ 2). In fact, previous counsel for Mr. Jesenik was granted access in

     January of 2018. (Greenfield Decl. ¶ 3). In the same August 25, 2020 email communication, the

     Government asked whether the Receiver could determine whether the Government had accessed

     any documents in the database to which any of the Defendants had been denied access, and

     requested that any be made available to the Defendants “barring some objection of the Receiver.”

     (Greenfield Decl. ¶ 4). In response, counsel for the Receiver advised that FTI Tech had never

     before shared information regarding which documents had been viewed by any of the parties

     afforded access to the database. (Greenfield Decl. ¶ 5).

              While the Receiver’s counsel was working with FTI Tech seeking to determine whether it

     is possible to identify documents accessed in the database by any party in this matter, the

     Government and counsel for the Defendants began communicating regarding a protective order.

     (Greenfield Decl. ¶ 6). Counsel for the Receiver requested that the protective order include greater

     safeguards for the information contained in File A than were ultimately included in the Order.

     (Greenfield Decl. ¶ 7).

              The Government was made aware that it was inadvertently granted access to File B.

     (Greenfield Decl. ¶ 8). On or about August 31, 2020, all parties to this matter were restricted from

     access to Files A and B. (Greenfield Decl. ¶ 9). On September 10, 2020, some period of time

     after it made a discovery production to counsel for Defendants Jesenik and Gillis, the Government

     first advised counsel for the Receiver of the production. (Greenfield Decl. ¶ 10). In accordance




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     with Federal Rule of Evidence 5025 and Federal Rule of Civil Procedure 26(b)(5)(B),6 counsel for

     the Receiver then issued a notice of inadvertent disclosure to counsel for Defendants Jesenik and

     Gillis as well as the Government. (Greenfield Decl. ¶ 11 and Ex. 1). At that time, the Receiver did

     not know whether any privileged communications were included in the Government’s production

     and requested that any privileged communications recognized by counsel for any party be

     destroyed or returned to the Receiver pending further order of the Court.               Thereafter, the

     Government advised that it had made a discovery production to counsel for Defendant Rice.

     (Greenfield Decl. ¶ 12). Counsel for the Receiver then issued the same notice of inadvertent

     disclosure to counsel for Defendant Rice and the Government. (Greenfield Decl. ¶ 13 and Ex. 2).

              After the Receiver’s counsel issued notice of inadvertent disclosure, the Receiver

     continued efforts to determine what had actually been accessed, downloaded and ultimately

     produced by the Government. (Greenfield Decl. ¶ 14). On September 17, 2020, the Government




              5
                 USCS Fed. Rules Evid. R 502(b)(1)-(3) provides that “[w]hen made in a federal
     proceeding or to a federal office or agency, the disclosure does not operate as a waiver in a federal
     or state proceeding if:
              (1) the disclosure is inadvertent;
              (2) the holder of the privilege or protection took reasonable steps to prevent disclosure; and
            (3) the holder promptly took reasonable steps to rectify the error, including (if applicable)
     following Federal Rule of Civil Procedure 26(b)(5)(B).”
              6
               USCS Fed. Rules Civ. Proc. R 26(b)(5)(B) provides that “[i]f information produced in
     discovery is subject to a claim of privilege or of protection as trial-preparation material, the party
     making the claim may notify any party that received the information of the claim and the basis for
     it. After being notified, a party must promptly return, sequester, or destroy the specified
     information and any copies it has; must not use or disclose the information until the claim is
     resolved; must take reasonable steps to retrieve the information if the party disclosed it before
     being notified; and may promptly present the information to the court under seal for a
     determination of the claim. The producing party must preserve the information until the claim is
     resolved.”
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     provided an index with MD5 hash values and the corresponding production Bates numbers.

     (Greenfield Decl. ¶ 15). With that data and logical search terms, FTI Tech concluded that the

     Government’s production contains over 1000 documents deemed likely privileged, largely

     comprised of email communication and attachments (“Likely Privileged Documents”).

     (Greenfield Decl. ¶ 16).

              As reflected in an email to all counsel and Ms. Austad, during a September 28, 2020 status

     conference, the Government generally advised this Court of the issues now addressed in this

     motion. Counsel were then directed to confer in an effort to resolve these issues. If no agreement

     could be reached, the Court requested that the Receiver “file a motion in the criminal case . . . for

     whatever relief the Receiver requests.” (Greenfield Decl. ¶ 17). As the Court requested and as set

     forth in the Certificate of Compliance above, the parties first met and conferred on October 6, 2020

     but were unable to reach an agreement. Subsequently, the Receiver advised all counsel of his intent

     to file this motion. At the request of counsel for Defendants, the Receiver refrained from filing

     the motion to allow for further engagement on the issues. At the request of counsel for Defendants,

     the Receiver responded to numerous questions regarding the Government’s inadvertent access to

     a portion of the consolidated database containing privileged communications. At the conclusion

     of that October 30, 2020 written communication, the Receiver asked the Defendants to articulate

     any argument as to how documents created and/or transmitted by email after his appointment could

     have any bearing on the subject criminal matter, particularly keeping in mind that any findings by

     the Receiver and his team relating to parties named in this criminal proceeding, together with

     references to all supporting facts and documents, are set forth in the Receiver’s forensic report. To

     date, the Defendants have not responded to that request.

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            At no time did the Receiver ever intend to waive the privilege afforded communications

   with his counsel. (Receiver’s Decl. ¶ 13). To the contrary, the Receiver is charged with

   marshalling the assets of the Receivership Estate, including claims against various parties many of

   which have not yet been litigated, for the ultimate benefit of defrauded Aequitas investors.

   (Receiver’s Decl. ¶ 14). An abrogation of the attorney-client privilege would undermine the

   Receiver’s efforts to maximize the recoveries of the defrauded Aequitas investors, the very same

   investors the Government alleges were harmed by the acts of Defendants. (Receiver’s Decl. ¶ 14).

   One would think that Defendants would support the efforts of the Court-appointed Receiver to

   maximize the recoveries of the investors as opposed to seeking the production of privileged

   communications that are immaterial to the defense as well as the Government’s case-in-chief.

            B.       MOTION TO INTERVENE

            The Receiver respectfully moves the Court pursuant to Federal Rule of Civil Procedure

   24(a) and (b), to intervene in the above-captioned case, solely for the limited purposes of amending

   the Protective Order and securing the return or destruction of inadvertently disclosed privileged

   communications.

            C.       MOTION TO AMEND PROTECTIVE ORDER

                     1.       Adding Sensitive Aequitas IT Information

            The Receiver moves the Court for an order amending the Protective Order, to include

   Sensitive Aequitas IT Information in addition to the Private Information and Financial Information

   already protected. The types of information the Receiver seeks are prized by cyber criminals.

   (Receiver’s Decl. ¶ 16). Should this information fall into the wrong hands, the results could be

   devastating. Simply inserting the description of additional protected documents would not cause

     the parties to this action any material hardship.
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                     2.       Redaction and other adequate protections

            The Protective Order currently provides for redaction of Private Information and Financial

   Information only before a document is “provided” to third parties. As it stands, such documents

   may be “shown” to potential witnesses, without redaction of Private Information or Financial

   Information. Given the highly sensitive personal and corporate information at issue, including

   some protected by stringent regulations including HIPAA, the Receiver would greatly prefer that

   all Private Information, Financial Information and Sensitive Aequitas IT Information be redacted

   before any document from File A is shown to any third party. The parties to this action resist that

   obligation. In an effort to appropriately balance the interests, by this motion, the Receiver simply

   seeks to require all third parties to agree to be bound by the terms of the Protective Order and

   obligate the Government, Defendants and each of their representatives to take reasonable measures

   to assure potential witnesses shown the subject documents are not permitted to retain or copy the

   protected information.

            D.       MOTION TO CLAW BACK DOCUMENTS CONTAINING
                     PRIVILEGED COMMUNICATIONS

            Finally, the Receiver moves the Court for an order requiring the parties to this action to

   destroy or return all documents containing privileged communications. As addressed above, based

   on MD5 hash values and the corresponding production Bates numbers provided by the

   Government, the vendor managing the Receiver’s consolidated database has concluded that the

   Government downloaded and produced over 1000 documents deemed likely privileged, largely

   comprised of email communication and attachments. The Defendants and Government refuse to

   simply return or destroy the Likely Privileged Documents. Accordingly, the Receiver seeks an

   order mandating that action. Conducting a thorough privilege review would be costly and deplete
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     the assets of the Receivership Estate. In the event the Court determines that a privilege review is

     necessary, the Receiver requests a reasonable amount of time to review the documents produced

     by the Government.

                       1.       Documents created after appointment of the Receiver are not
                                relevant in this criminal matter.

              In recognition that civil and criminal litigants would benefit from ready access to

     documents in the care, custody or control of the many Aequitas entities immediately prior to

     initiation of the Receivership, the Receiver directed the creation of the consolidated database.

     Obviously, many documents created prior to initiation of the Receivership are relevant in support

     of civil claims, criminal charges and defenses. Documents created after appointment of the

     Receiver, particularly any containing privileged communications between the Receiver and his

     counsel, simply would have no bearing on the criminal charges against the Defendants or any

     defenses they may present.

                       2.       The Government was not obligated to produce the documents
                                containing the Receiver’s privileged communications.

              The Government never was, and is not now, obligated to produce any of the documents

     obtained from either File A or File B. Pursuant to Federal Rule of Criminal Procedure 16

     (a)(1)(E), the Government is required to produce documents (1) material to preparing the

     defense; (2) the Government intends to use in its case-in-chief at trial; or (3) obtained from or

     belonging to the Defendants. See FRCP 16(a)(1)(E)(i)-(iii). Regardless of that standard, the

     Receiver understands that the Government produced all documents it downloaded from File B.

                       3.       The inadvertent disclosure of privileged communications contained
                                in File B documents did not waive the Receiver’s attorney-client
                                privilege.

           “Federal common law recognizes a privilege for communications between client and
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   attorney for the purpose of obtaining legal advice, provided such communications were intended

   to be confidential.” Gomez v. Vernon, 255 F.3d 1118, 1131 (9th Cir. 2001). “The attorney-

   client privilege has been recognized as ‘the oldest of the privileges for confidential

   communications known to the common law.’” Id. citing Upjohn Co. v. United States, 449 U.S.

   383, 389 (1981).

            “The privilege, however, is not absolute.” Id. “The privilege may be waived by the client

   either implicitly, by placing privileged matters in controversy, or explicitly, by turning over

   privileged documents.” Id. “Inadvertent disclosure can also result in a waiver of the privilege.” Id.

   (internal citation omitted); see also Relion, Inc. v. Hydra Fuel Cell Corp., 2008 U.S. Dist. LEXIS

   98400, *4-5 (Dist. Ore. Dec. 4, 2008) (because attorney-client privilege is “strictly construed . . .

   it has been widely held that voluntary disclosure of the content of a privileged attorney

   communication constitutes waiver of the privilege as to all other such communications on the

   same subject”) (internal citation omitted).

            In the Ninth Circuit, “when there has been an involuntary disclosure, the privilege will be

   preserved if the privilege holder has made efforts 'reasonably designed' to protect the privilege.”

   Gomez, 255 F.3d at 1131. This preservation of privilege is supported not only in case law, but in

   the language of Rule 502(b) of the Federal Rules of Evidence, which provides that an inadvertent

   disclosure does not constitute a waiver if the holder of the privilege took reasonable steps to

   prevent disclosure and promptly took reasonable steps to rectify the error. FRE 502(b)(1)-(3).

            As with all evidentiary privileges, the burden of proving that the attorney-

   client privilege applies, and that the privilege has not been waived, rests with the party asserting

   the privilege. See e.g. Weil v. Investment/Indicators, Research and Management, Inc., 647 F.2d

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     18, 25 (9th Cir. 1981). Whether the attorney-client privilege has been waived is a mixed question

     of fact and law. United States v. de la Jara, 973 F.2d 746, 749 (9th Cir. 1992).

              Here, there was never an intent to by the Receiver to waive attorney-client privilege.

     (Receiver’s Decl. ¶ 13). The disclosure was entirely inadvertent. Consequently, the Receiver seeks

     the return or destruction of those inadvertently disclosed, privileged documents downloaded by

     the Government, regardless of whether they were later produced to any of the Defendants.

                       4.       The Receiver took steps reasonably designed to protect the subject
                                documents.

              An Oregon court will not deem a privilege waived due to inadvertent disclosure so long as

     the privilege holder took steps “reasonably designed” to protect the privilege. Id. Further,

     “[w]hether disclosure is inadvertent and whether the holder of the privilege took reasonable steps

     turns on a variety of factors, including the number of documents and how they were reviewed prior

     to production." Audubon Soc'y of Portland v. Zinke, 2018 U.S. Dist. LEXIS 53570, *13 (D. Ore.

     March 27, 2018) (internal citation omitted).

              It was never the intention of the Receiver to allow the Government to access any of File B

     (documents created after appointment of the Receiver) and certainly not the documents within File

     B that contain privileged attorney-client communications. Nevertheless, the Government was

     granted access as a result of miscommunications with a third-party vendor. (Receiver’s Decl. ¶¶

     8-12). It was not until recently that the Receiver and his team became aware of the disclosure, at

     which time the Receiver’s counsel promptly pursued all reasonable means of preserving the

     documents’ confidentiality. (Greenfield Decl. ¶¶ 8-13). Those efforts include the present motion.

                       5.       Upon learning of the inadvertent disclosure, the Receiver pursued
                                all reasonable means of preserving the documents’ confidentiality

           In addition to the reasonable steps taken by the Receiver to prevent disclosure, the Receiver
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   also took “reasonable steps to rectify the error” of an inadvertent disclosure See e.g. Ironwood

   Homes v. Bowen, 2010 U.S. Dist. LEXIS 161109, *7 (D. Ore. Dec. 6, 2010)7 citing Federal Rule

   of Evidence 502(b); see also Transamerica Computer Co., Inc. v. Int'l Bus. Mach. Corp., 573 F.2d

   646, 650 (9th Cir. 1978) (after an involuntary or inadvertent disclosure, the holder of

   the privilege may still preserve it by making efforts that are reasonably designed to protect and

   preserve the privilege.)

            A common consideration by courts is the timing of any claw back or claim of privilege.

   Even where there is some delay between disclosure and privilege claim, so long as the privilege

   holder sought to protect the documents promptly after discovering the production, the privilege is

   not waived. See Arnett v. Bank of Am., N.A., 2013 U.S. Dist. LEXIS 203224, *11 (D. Ore. Mar.

   29, 2013) (finding privilege was not waived after a four-month delay between production and claw

   back where privilege holder “sought protection for the document reasonably promptly after

   discovering its production.”); see also Ironwood, 2010 U.S. Dist. LEXIS 161109 at *4 (waiver

   was not found where an opposing party was notified of the inadvertent disclosure “immediately”

   or “promptly”); Audubon Soc'y of Portland, 2018 U.S. Dist. LEXIS 53570 at *13.

            Here, the Receiver’s counsel promptly informed the Government of its inadvertent access

   to File B. (Greenfield Decl. ¶ 8). On or about August 31, 2020, access to File B was restricted for

   all parties. (Greenfield Decl. ¶ 9). Upon learning that the Government had produced documents

   from File B to counsel for Defendants – which the Receiver maintains the Government was never

   obligated to do – the Receiver’s counsel contacted Defendants’ counsel and invoked FRE 502 and


            7
            In Ironwood, the court considered the waiver argument upon Plaintiff’s filing a Motion
   to Compel disclosure of privileged letters after the privilege holder had notified Plaintiff of the
   disclosure, including a claw back. The Court denied Plaintiff’s motion.
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   FRCP 26(b)(5)(B) to claw back the documents. (Greenfield Decl. ¶¶ 10-14 and Exs. 1-2). All

   reasonable means have been and continue to be pursued to protect the information in these

   inadvertently disclosed documents.

                     6.       The Government and Defendants have an obligation to refrain
                              from using or further disclosing the privileged communications
                              contained in documents derived from File B until a definitive
                              resolution is obtained from this Court.

            In this instance, and because the parties were unable to come to an agreement without

   involving this Court, it is important to remind the Defendants as well as the Government of their

   obligations to the Receiver, the Receivership Estate and, indirectly, the many defrauded Aequitas

   investors, as all parties are now aware – and have been for some time – that the documents at issue

   were inadvertently disclosed and are privileged.

            The ethical dilemma facing a party receiving privileged documents has resulted in multiple

   formal opinions being issued by the American Bar Association Standing Committee on Ethics and

   Professional Responsibility. A 1992 opinion stated that “[a] lawyer who receives materials that on

   their face appear to be subject to the attorney-client privilege or otherwise confidential, under

   circumstances where it is clear that they were not intended for the receiving lawyer, should refrain

   from examining the materials, notify the sending lawyer and abide the instructions of the lawyer

   who sent them.” ABA Comm. on Ethics and Prof'l Responsibility, Formal Op. 368 (1992) cited

   by Gomez, 255 F3d at 1132.

            Just two years later, the Committee expanded on the obligations of a lawyer receiving

   privileged material, stating that “[a] lawyer who receives on an unauthorized basis materials of an

   adverse party that she knows to be privileged or confidential . . . should either follow instructions

   of the adversary's lawyer with respect to the disposition of the materials, or refrain from using the
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   materials until a definitive resolution of the proper disposition of the materials is obtained from a

   court.” ABA Comm. on Ethics and Prof'l Responsibility, Formal Op. 382 (1994) (emphasis added)

   cited by Gomez, 255 F3d at 1132.

            As such, the Government and Defendants are obligated to refrain from using or further

   disclosing the privileged communications contained in documents from File B until the Court rules

   on the Receiver’s motion.

                                         IV.     CONCLUSION

            The Receiver has worked tirelessly to protect the interests of those defrauded as part of the

   Aequitas Ponzi scheme. It always was, and remains, the Receiver’s intention to maintain the

   confidentially of privileged communications with his counsel. The Receiver acted reasonably to

   protect documents containing privileged communications from the outset of the Receivership and,

   upon learning of the inadvertent disclosure, promptly took steps to regain control of the documents.

             In furtherance of those efforts, the Receiver respectfully requests the Court grant the

    motion to intervene, the motion to amend the Protective Order to (1) expand the scope of

    protected information to include Sensitive Aequitas IT Information and (2) increase the measures

    taken when unredacted discovery material is shown to potential witnesses, and finally, to grant

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    the Receiver’s motion to claw back privileged documents to which the Government was

    inadvertently granted access.

            Dated this 13th day of November, 2020.

                                               Respectfully submitted,

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